                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      PBD Holdings, LLC                                                                             Case No.   20-81234
                                                                                  Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for PBD Holdings, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 12, 2020                                                         /s/ Tazewell T. Shepard
 Date                                                                 Tazewell T. Shepard ASB-4962-S68T
                                                                      Signature of Attorney or Litigant
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